              Case 1:18-cr-00268-KAM Document 48 Filed 02/28/24 Page 1 of 4 PageID #: 297
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                        Eastern District
                                                     __________          of New
                                                                  District      York
                                                                            of __________
                                                                          )
              UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                        Danielle Kaufman                                  )
                                                                          )         Case Number: 18CR268 [KAM]
                                                                          )         USM Number: 90965-053
                                                                          )
                                                                          )         Deborah Colson, Esq.
                                                                          )         Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                     One and Two of a Two Count Information
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18 U.S.C. § 1349,                 Conspiracy to Commit Bank and Wire Fraud, Class B Felony                  9/30/2016                       1

18 U.S.C. § 1343, 1344

18. U.S.C. § 1956(h)             Money Laundering Conspiracy, Class C Felony                                                                2

       The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           2/27/2024
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                                                   Kiyo A. Matsumoto, USDJ
                                                                         Name and Title of Judge


                                                                                                           2/27/2024
                                                                         Date
               Case 1:18-cr-00268-KAM Document 48 Filed 02/28/24 Page 2 of 4 PageID #: 298
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2       of   4
 DEFENDANT: Danielle Kaufman
 CASE NUMBER: 18CR268 [KAM]

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                Time served on Counts One and Two.




      G The court makes the following recommendations to the Bureau of Prisons:




      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                   G a.m.      G p.m.         on                                              .

          G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                            .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
              Case 1:18-cr-00268-KAM Document 48 Filed 02/28/24 Page 3 of 4 PageID #: 299
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment — Page      3     of        4
 DEFENDANT: Danielle Kaufman
 CASE NUMBER: 18CR268 [KAM]
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ         )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 200.00                  $ 5,497.46              $ 0.00                   $ 0.00                      $ 0.00


 G The determination of restitution is deferred until                       . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 ✔ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 G
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***                 Restitution Ordered         Priority or Percentage
  The Clerk shall forward payments to:

  Westamerica Bancorporation                                                        
                                                                                     
  Mission Valley Bank

  The Clerk shall forward payments to the victim institutions at the addresses that will be provided to the Clerk.

  Restitution is joint and several with Larby Amirouche -aka- Luke Williams in 21-CR-64 [KAM].




 TOTALS                                                         $5,497.46                     $5,497.46

 ✔
 G     Restitution amount ordered pursuant to plea agreement $ 5,497.46

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine       G restitution.
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
              Case 1:18-cr-00268-KAM Document 48 Filed 02/28/24 Page 4 of 4 PageID #: 300
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                                     Judgment — Page        4      of         4
 DEFENDANT: Danielle Kaufman
 CASE NUMBER: 18CR268 [KAM]

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 5,697.46
      G                                                             due immediately, balance due

            G     not later than                                         , or
            G     in accordance with G C,             G D,         G E, or          G F below; or
 B    G Payment to begin immediately (may be combined with                       G C,          G D, or       G
                                                                                                             ✔ F below); or


 C    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
 F    ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
              Restitution is joint and several with Larby Amirouche -aka- Luke Williams in 21-CR-64 [KAM]. As of February 27, 2024, Ms. Kaufman has
             fully paid her Restitution and Assessment amounts. The Order of Restitution is attached hereto and incorporated herein.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
G✔   Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                           Joint and Several                  Corresponding Payee,
      (including defendant number)                            Total Amount                            Amount                            if appropriate
      21CR64 [KAM] USA v. Larby Amirouche
                                                                5,497.46                          5,497.46
                   -aka- Luke Williams

 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 ✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
 G
       Pursuant to 18 U.S.C. § 982(a)(1) and 982(a)(2), the defendant has consented to the entry of a forfeiture money judgment in the amount of fifty
       thousand dollars and zero cents ($50,000.00) (the “Forfeiture Money Judgment”), as property, real or personal, constituting, or derived from,
       proceeds obtained directly or indirectly as a result of the defendant’s violations of 18 U.S.C. § 1349 ; (b) property, real or personal, involved in the
       defendant's violation of 1956(h), or any property traceable to such property: and/or a substitute asset, pursuant to 21 U.S.C. § 853(p).
       As of February 27, 2024, the Forfeiture was paid in full. The Amended Order of Forfeiture is incorporated herein as part of this Judgment.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
